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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :      CRIMINAL NO. 1:21-cr-00078-EGS
               v.                            :
                                             :
JOHN EARLE SULLIVAN                          :
                                             :
                      Defendant.             :


                                  NOTICE OF DISCOVERY

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court and defense that the attached discovery letter

of July 14, 2021, was provided to defense counsel in this matter.

                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney


                                     By:
                                             Candice C. Wong
                                             Assistant United States Attorney
                                             D.C. Bar No. 990903
                                             555 4th Street, N.W., Room 4816
                                             Washington, D.C. 20530
                                             202-252-7849
                                             Candice.wong@usdoj.gov
